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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Susan Little JUDGE FALLON

v.

Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES

%* *& ee KF eH HK HR HH KH F

Docket No. 2:05-cv-05736

ICR ICR CK GR GK kk a kk a oko ak

ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Susan Little in the above-captioned case be
and they hereby are dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2009.

DISTRICT JUDGE
